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UNITED sTATEs DISTRICT CoUR.:lAN 1 2 2011
FoR THE NoRTHERN DISTRICT 0F 1LL1N01s
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(N ame 01 the piamtin or piaintltts) 1 1 CV220
v. Judge Mi|ton | Shadur
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w nlle ?Q“Sim |V|aglstrate Nan R. No|an

 

 

 

(N 3111€ OI the G€ICIIGHIH OI` GGI€IlCaIltS)

COMPLA]NT OF EMPLOYMENT DISCRIMINATION

l. This is an action for employ ent discrimination

 

 

 

 

2. The plaintiff is eng UL‘i` A‘ O[é//{II O/` l of the county of
699 k in the state of [;_ .

3. The defendant ls A ¢(,';60 n \/§/ }40($ '{/7 ij ,Whose street address

is _2¥£<2__¢§`___3€1____§_&_@_& Q£;__ Q _f_%@_é@z ______________ ,

(ciry) counry) (00,< (state) (zIP)

 

(Defendant’s telephone number) (B)- §§ 5"' 590.§~/'/_ Z; ;3],53§-"60§4

II The plaintiff sought employment or was employed by the defendant at (street address)

R:Z‘/OF gjf( §"('zeel"” C§/_v[>g[_(/ ad (<: W)y) ()){<c.a.@,r
(county) § M (state) LC- (ZIP code)

5. The plaintiff [check one box]
(a)|:| was denied employment by the defendant
(b) Was-hi;ed- and is still employed by the defendant

  

(c)|:| Was employed but is no longer employed by the defendant
6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) §§_Of , (day) 0_/ , (year) 26 OOS. l

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7.1 (Choose paragraph 7.1 or 7.2, do NOT complete both.!

(a) The defendant is not a federal governmental agency, and thelplaintiff [check one box]

Ehas not g has filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) Wie United Statcs Equal Employment Opportunity Commission, on or about
(month) day) |,L (year) QQ| 0

(ii) g the Illin s De art ent of Human Rights, on or about
(month) §f¢§l§ akg&éay) \ J: (year) ;ZQ 122 .

(b) If charges were filed With an agency indicated above, a copy of the charge is ttached. g YES. |:| NO,

but plaintiff Wi]l file a copy of the charge within 14 days.
It is the policy of both the Equal Employment Opportunity Commission and the Illinois Department of Human

Rights to cross-file with the other agency all charges received. The plaintiff has no reason to believe that this
policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the defendant asse

rtin
the acts of discrimination indicated in this court complaint ~|'L¢, CK:¢A$N:.¢§ a$ CO /@Fdé
MEE"’C{\~\M.;R r W _o ,l$€al{e 05
g Yes (month) gipsz bjc (da ) (year) 0 iv?$ ' _
m No did not file Complaint of Employment Discri in 'o m
2 Th . . , . . . . M (9€€ WK(L
. e plaintiff received a Fi l A ency Decision on (month) l e(,+e
<day) Mr) j Q in . ny
c. Attached is a copy o the

a. Complaint of Employment Discrimination,

g YES m NO, but a copy will be filed Within l4 days.
(ii) Final Agency Decision

YES m NO, but a copy Will be filed within 14 days.

8. (Cornplete paragraph 8 only if defendant is not a federal governmental agency.)

10.

ll.

12.

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l
(a) |:\ the United Statcs Equal Employment Opportunity Commission has not issued a Notice of Right

to Sue.

(b) Mthe United States Equal Employment Opportunity Commission has issued a Notice of Right to

Sue, which was received by the plaintiff on (month) (day)
(year) l a copy of which Notice is attached to this complaint

The defendant discriminated against the plaintiff because of the plaintiff s [check only those that apply]:

(a)[| Age (Age Discrimination Employment Act).

(b) Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(c) Disability (Americans with Disabilities Act or Rehabilitation Act)

(d) National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(e)E Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(f)|:| Religion (Title VII of the Civil Rights Act of 1964)

(g)|:| Sex (Title VII of the Civil Rights Act of 1964)
If the defendant is a state, county, municipal (city, town or village) or other local governmental agency,

plaintiff further alleges discrimination on the basis of race, color, or national origin (42 U.S.C. § 1983).
Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims by 28

U.s.C.§1331,2s U.s.c.§1343(a)(3), and 42 U.s.C.§zoooe-s(i)(s); far 42 U.s.C.§ 1981 and §1983 by
42 U.s.c.§i9ss; far the A.D.E.A. by 42 U.s.C.§izi 17; for die Rahabiiiiannn Aci, 29 U.s.c. § 791.

The defendant [check only those that apply]

(a)l:l failed tn hire die plaintiff

(b) |:| terminated the plaintiff s employment

(c)B failed to promote the plaintiff

(d)|:\ failed to reasonably accommodate the plaintist religion.
(e) failed to reasonably accommodate the plaintiff’ s disabilities.

(f)§ failed to stop harassment;

(g) retaliated against the plaintiff because the plaintiff did something to assert rights protected by
the laws identified in paragraphs 9 and 10 above;

ch others eci ): The cleth nl'i%_re 1 - brand armed
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. g ' ‘ - '»' l` ' ' Q
14. [AGE DISCRIMI]\}A@J`IG l` ' "" l'e a n owingly,b&ten.~‘onally, an¢"`ly dis minat
against the plaintiff mf;ge

ledgeer QMM
15. The plaintiff demands that the case be fn'ed by a jury. I:I YES El NO §§

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check only
those that apply]

(a) |:| Direct the defendant to hire the plaintiff
(b)|:| Direct the defendant to re-employ the plaintiff
(c)E Direct the defendant to promote the plaintiff

(d)g Direct the defendant to reasonably accommodate the plaintiffs religion. J';q 54
(e) Direct the defendant to reasonably accommodate thp Jntlft;qg&a?tlzl#£#k n ead-fe A&Slf<l"' ;m€
(f)E: Direct the defendant to (specify): /_ n / , ' 15 M(z.__
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If availa ,grant t e le opriate lnjuncé§ le s wag

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damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
judgment interest, and costs, including reasonable attorney fees and expert witness fees.

(h)B Grant such other relief as the Court may lind appropriate

@`§Swe/l

Plaintiff s signature

\}°\X\Ql/\j$ v\@\ L‘ (Q’Gon n OF

Plaintiff’ s name

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Plaintift’s street address /O `?5 2 § ' §€ e/ 631 /£/‘F .

City Q)QggW State E(/ ZIP éog£{B

Plaintiff’s telephone numbeQ'?z/) 233 " 06<?0

 

Date: /'//O /'?O//

 

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- EEoc Form 161 (11/09)§\ Q;A(\€/ U. S. EQUAL EMPLOYMENT OPPORTUNITY COMM|SS|ON
fp o §§j
\O\ DisMissAL ANo NoTicE oF RieHTs l 90 o
T°¢ Valentina L. O' Connor . Ff°m! Chicago District Oilfice
10732 South Seeley Avenue 500 West Madison St
Chicago, lL 60643 Suite 2000
Chicago, lL 60661
CERT|F|ED MA|L 7010 1870 0001 1856 7260 cP
m On behalf of person(s) aggrieved Whose identity is `
CoNF/DENT/AL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative l Te|ephone No.

Kiprono Sigi|ai,
440-201 0-061 57 investigator (31 2) 353-81 80

THE EEOC lS CLOS|NG lTS F|LE ON THIS CHARGE FOR THE FOLLOW|NG REASON: l
T he facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabi|ities Act.
The Respondent employs less than the required number of employees 'or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to tile your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent' is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU H|]|]|]U

Other (briei?y state)

- NOT|CE OF SUIT RlGHTS -

(See the additional information attached to this form.)

Title V|l, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, pr the Age
Discrimin`ation in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|TH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equa| Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred m re than 2 ears 3 ears
before youi file suit may not be collectible.

On behalf nf the Commissian

 

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Enclosures(s) l/ J°hn P_ R°we’ v (Date Mailed)
f District Director

CC! CH|CAGO PUBL|C SCHOOLS

    

EEOCFmSm/og) Case: 1:11-cv-O 9 Document #: 1 Filed: 01/12/11 P` ge 7 of 9 PagelD #:7

 

 

 

 

 

 

 

 

 

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CHARGE OF DlSCRll\/llNAT|ON 1 Charge Pres§ ed Tor Agency(ies) Charge No(s)=
This form ls affected by the Privacy Act of 1974. See enclosed Privacy Act m FEPA
Statement and other information before completing this forrn.
l:| EEoc 440-2010-06151
ll|inois Department Of Human Rights 1 _ and EEOC
State orlocal Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (lncl. Area Code) Date of Blrth
Ms. Valenti_na L. O'Connor (773) 238-0680 10I29I1 950
Street Address Clty, State and ZlP Code

10732 S. Seeley Avenue, Chicago, lL 60643

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That l Believe
Disorlminated Against Me or Others. (lf more than two, list under PARTICULARS below.)

 

 

 

 

Name v No. Employees, Membera Phone No. (lnclude Area Code)
CH|CAGO PUBL|C SCHOOLS ` 500 or More (773) 535-6905
Street Address City. State and ZlP Code

Global Visions Academy High School, 2710 E. 89th S_t. Chicago, |L 60617

 

 

 

 

 

Name No. Employeas, Membsrs Phone No. (lnclude Area Code)

Street Address City, State and ZlP Code

DlSCRlMlNATlON BASED ON (Check appropriate box(es).) DATE(S) DlSCR|MlNAT|ON TOOK PLACE
Earliest Latest

 

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E OTHER (Speci`fy) m CONTlNU|NG ACT|ON

THE PART|CULARS ARE (ll' additional paper is needed, attach extra sheet(s)):
l was hired by Respondent in 1992. l currently work as a Specia| Education Teacher. During my employment
l have been subjected to different terms and conditions of employment including but not limited to being
prevented from going to workshops during school hours. l was disciplined on March, 2010.

 

 

l believe that l was discriminated against because of my race, White, and national origin, Romanian, in
violation of Tit|e Vll of the Civil Rights Act of 1964, as amended.

ab van eeoc
SEP 17 2010

 

CHECAGO Di§`l"fll@'l` QFFlC§

 

i want this charge med with both the EEOC and the state or local Agency, if any. l NOTARY - When necessary for Sfafe and Local Agency Reqw'rements
will advise the agencies if l change my address or phone number and l wlll
cooperate fully with them in the processing of my charge in accordance with their

pr°°ed"'es' l swear or aflinn that l have read e above charge and that it is true to
l declare under penalty of perjury that the above is true and oorrect. the best of my knowledge, infon'na ion and belief.

SlGNATURE OF COMPLA|NANT

' ` SUBSCR|BED AND SWORN TO BEFORE ME THIS DATE
Sep 17, 2010 ' /('/ (month, day, year)
V
Date

Charging Party Signature

 

 

 

 

 

 

 

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